86 F.3d 1152
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Norman TAYLOR, Plaintiff-Appellant,v.Ronald H. BROWN, Secretary of Commerce, Defendant-Appellee.
    No. 96-1069.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 16, 1996.Decided:  June 3, 1996.
    
      Norman Taylor, Appellant Pro Se.  Maury S. Epner, OFFICE OF THE UNITED STATES ATTORNEY, Greenbelt, Maryland, for Appellee.
      Before RUSSELL, LUTTIG, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order granting summary judgment for Appellee in Appellant's age discrimination action.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Taylor v. Brown, No. CA-93-3745-DKC (D.Md. Dec. 13, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    